          Case 2:05-cr-00391-RSM        Document 260       Filed 11/29/05    Page 1 of 3




 1
 2
 3
 4
 5
 6
 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.      CR05-391 RSM
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    DAVID WESLEY WATKINS,        )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Conspiracy to Distribute Controlled Substances, in violation of Title 21, U.S.C.,
18            Sections 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), 841(b)(1)(C), and 846.
19 Date of Detention Hearing: November 23, 2005.
20            The Court, having conducted an uncontested detention hearing pursuant to Title
21 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
22 detention hereafter set forth, finds that no condition or combination of conditions which the
23 defendant can meet will reasonably assure the appearance of the defendant as required and
24 the safety of any other person and the community. The Government was represented by
25 Ron Friedman and Rich Cohen. The defendant was represented by Walter Palmer.
26            The Government filed a Motion for Detention, to which the defendant stipulated.

     DETENTION ORDER
     PAGE -1-
        Case 2:05-cr-00391-RSM       Document 260      Filed 11/29/05    Page 2 of 3




 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause to believe the defendant committed the
 3               conspiracy drug offense. The maximum penalty is in excess of ten years.
 4               There is therefore a rebuttable presumption against the defendant’s
 5               release based upon both dangerousness and flight risk, under Title 18
 6               U.S.C. § 3142(e).
 7         (2)   Nothing in this record satisfactorily rebuts the presumption against
 8               release for several reasons: Using the factors below, under Title 18 §
 9               3142 (g), the Court considered the following:
10               (a)    The defendant poses a risk of nonappearance as he has an
11                      extensive history of noncompliance with court orders, probation
12                      violations, and numerous failures to appear.
13               (b)    The Court views the defendant to be a risk of danger based on his
14                      extensive and often violent criminal history and the nature of the
15                      instant offense. The proffer by the Government discloses
16                      evidence on the court-authorized wiretap recordings where the
17                      defendant suggests, on two separate occasions, using violence as a
18                      means of enforcing drug debts. Moreover, the concern of danger
19                      is magnified given the current active No Contact Order lodged
20                      against the defendant.
21               (c)    The defendant stipulated to detention.
22         (3)   Based upon the foregoing information which is consistent with the
23               recommendation of U.S. Pre-trial Services, it appears that there is no
24               condition or combination of conditions that would reasonably assure
25               future Court appearances and/or the safety of other persons or the
26               community.

     DETENTION ORDER
     PAGE -2-
        Case 2:05-cr-00391-RSM      Document 260       Filed 11/29/05     Page 3 of 3




 1         It is therefore ORDERED:
 2         (l)   The defendant shall be detained pending trial and committed to the
 3               custody of the Attorney General for confinement in a correction facility
 4               separate, to the extent practicable, from persons awaiting or serving
 5               sentences or being held in custody pending appeal;
 6         (2)   The defendant shall be afforded reasonable opportunity for private
 7               consultation with counsel;
 8         (3)   On order of a court of the United States or on request of an attorney for
 9               the Government, the person in charge of the corrections facility in which
10               the defendant is confined shall deliver the defendant to a United States
11               Marshal for the purpose of an appearance in connection with a court
12               proceeding; and
13         (4)   The clerk shall direct copies of this order to counsel for the United
14               States, to counsel for the defendant, to the United States Marshal, and to
15               the United States Pretrial Services Officer.
16         DATED this 28th day of November, 2005.
17



                                                    A
18
19
                                                    MONICA J. BENTON
20
                                                    United States Magistrate Judge
21
22
23
24
25
26


     DETENTION ORDER
     PAGE -3-
